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                                   ROBB EVANS & ASSOCIATES LLC
                    RECEIVER OF MRI INTERNATIONAL INC., et al.

                              REPORT OF RECEIVER'S ACTIVITIES
                               April 18, 2015 through September 30, 2015


This report covers the activities of the Receiver1 since its last report as of April 17, 2015. This
is the first Quarterly Report to the Court on the progress of the receivership. It does not
constitute an audit of financial condition and is intended only to provide information for use
by the Court in assessing the progress of the receivership.

Summary of Operations of the Receiver

The Receiver took steps to provide additional security to each of the properties. A security
fence has been installed around the three office buildings and parking garage located on
Durango Road. Immediately after the Receiver’s initial appointment, the Receiver retained
the services of a security firm that provided on-site security guards twenty-four hours a day,
seven days a week. In an attempt to preserve receivership assets, the Receiver determined that
temporary fencing around the property would provide reasonable protection from theft and
vandalism and reduce the monthly costs of security services by over $20,000 each month. As
a result of discussions with the tenant in Suite 206 at the property located at 150 East Harmon
and based on the observations made by the Receiver during several site visits to the property,
the Receiver confirmed there were numerous instances where trespassers were occupying
portions of the property, including a storage shed and an outbuilding housing the garbage
bins. Staff and patients of the tenant expressed concerns about the presence of the trespassers.
The Receiver contracted with American Fence to install perimeter fencing around the Harmon
property. The fence has provided a marked increase in security and a sense of relief to the
tenants and their patients. The Receiver provided a chain and lock so only the tenants and
Receiver can access the property.

The Receiver was able to secure individual insurance coverage for the seven commercial
buildings in Las Vegas which resulted in a significant savings from the cost of coverage under
the master policy held by the Receiver. The Receiver has coverage for other properties under
its master policy that have been identified by the Receiver as part of the Receivership Estate,
but not yet under the control of the Receiver. For example, the Receiver has made numerous
requests for Mr. Fujinaga to comply with the Court’s Order and turn over possession of his
residence in Las Vegas. Although, Mr. Fujinaga has provided cooperation with the Receiver
in many areas, as yet, Mr. Fujinaga has not turned over his residence to the Receiver. Mr.
Fujinaga’s counsel submitted a request that the Receiver agree to allow Mr. Fujinaga to
continue to occupy the residence for the immediate future. The Receiver reminded Mr.

1   Reference to the Receiver in this report means the Receiver, the Receiver’s deputies, and its staff.

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Fujinaga’s counsel that the Court’s Order compelled Mr. Fujinaga to turn over all of his assets,
and that should Mr. Fujinaga desire an exception to that obligation, that he should apply to
the Court directly, as in the Receiver’s opinion, the Receiver does not have authority to grant
such a request under the appointment Order.

The Receiver’s counsel has undertaken steps to familiarize himself with the issues presented
in the Hoy’s litigation. The Receiver’s counsel was successful in getting an extension of the
discovery period and continues to analyze the strengths and weaknesses of this pending
litigation.

Pursuant to the Court’s direction, the Receiver has investigated the claim of Mr. Fujinaga that
independent third parties hold an ownership interest in HMC Service Center, LLC, the entity
holding title to the property at 150 E. Harmon. The Receiver will report on its findings
regarding these ownership interests later in this report.

The Receiver interviewed numerous qualified brokers and agents interested in marketing the
commercial properties in Las Vegas. The Receiver selected listing brokers for the three
properties at 2865, 2875 and 2955 Coleman Road and three buildings at 5330, 5370 and 5420
Durango Drive. The Receiver has not taken steps to list for sale the Harmon property pending
further direction from the Court regarding the issue of ownership. The status of the marketing
activities for each property will be discussed in more detail later in this report.

The Receiver has continued to investigate the location of additional assets of the estate and
potential claims against third-parties. The Receiver has encountered significant roadblocks to
its ongoing financial investigation and asset tracing activities as a result of the lack of electronic
financial and accounting records of the entities.

The Receiver has continued to analyze options to account for and properly store the
voluminous number of documents stored at the various properties. In order to complete the
liquidation process of the properties, the Receiver must box and remove all documents from
the premises. The Receiver has been advised that certain of the documents may be stored by
the F.B.I. pursuant to a possible agreement between the Department of Justice and counsel
for Mr. Fujinaga. Even if such an agreement is reached, the amount of documents remaining
is still a massive undertaking to box and move to a proper storage facility. The Receiver has
continued to review the Defendant’s records in an effort to locate additional assets and to
locate documents helpful to the Hoy’s litigation as well as identifying claims against third
parties. The Receiver’s staff has also started the process of boxing documents in preparation
for removal to a storage facility.

The Receiver drafted stipulations for the destruction of expired drug products and the sale at
auction of personal property located the buildings on Durango and two of the three buildings
located on Coleman Road. Mr. Fujinaga has cooperated with the Receiver’s request and signed
both stipulations. The Receiver confirmed with Plaintiff’s counsel that the SEC had no


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objections and filed the stipulations with the Court. On October 5, 2015, the Court entered
an Order approving both stipulations.

Real Property Assets

Durango Properties

The Durango Properties consist of three buildings located at 5330, 5370 and 5420 South
Durango Avenue on two parcels of land. The office building at 5420 South Durango was not
completed and remains a two story shell without interior tenant improvements.

As reported in the Receiver’s initial report to the Court, all three buildings suffered significant
theft and vandalism prior to the Receiver’s appointment. Many windows had been smashed,
door locks were broken with doors ajar, and business documents were strewn throughout the
offices. Holes were torn through various ceilings and walls in order to remove copper pipes
and electrical wiring. The HVAC systems had been destroyed and all salvageable metals
throughout the Durango Properties were removed. Some bathroom toilets and fixtures were
smashed. Most valuable electronic equipment had been stolen or was otherwise missing.

The water has been shut off for months and much of the landscaping is dead or otherwise
deteriorating. A significant amount of trash and debris was around the exterior of the
buildings and the Receiver retained the services of a contractor to remove the debris and clean
the exterior of the buildings. During the heat of the summer, the Receiver arranged for a
landscape company to water many portions of the landscape to prevent further loss of the
trees and shrubs.

At the onset of its appointment, in an attempt to stop further damage to the Durango
buildings, the Receiver retained the services of a local security company and contracted for
guards to be present at the Durango Properties 24 hours a day, seven days a week. The
Receiver determined that placement of security guards at the Durango Properties was
necessary in order to protect and preserve the value of the receivership assets. As mentioned
above, in order to reduce administrative costs to the estate, the Receiver determined that the
installation of a temporary construction fence around the entire property would provide
reasonable security against further damage. The Receiver entered into a one-year lease with
American Fence at an annual cost of $2,700. By terminating the security guard service the
Receiver reduced the monthly administrative costs to the estate of over $20,000. There has
not been any significant theft or damage to the buildings since installation of the perimeter
fence.

The Receiver listed the Durango properties with two qualified brokers and directed that they
work as a team in marketing the property. One of the brokers was formerly with CBRE and
has extensive experience in developing and marketing commercial real estate. The second
broker has a strong construction background and has proved very productive in developing
estimated costs to repair the buildings, the status of all necessary permits and by reviewing
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existing plans and drawings. After the initial marketing campaign, the brokers held open
houses during July and August 2015 for all parties that had submitted an expression of interest
in the properties. The open houses were well attended with numerous buyers inspecting the
Durango properties accompanied by personal contractors, agents and consultants. All
potential buyers were invited to submit written offers to the Receiver on or before September
30, 2015. The Receiver and brokers carefully reviewed all written offers and selected buyers
that submitted the five best offers and invited them to submit a “final and best” offer on or
before Wednesday, October 14, 2015. The Receiver anticipates selecting the best offer and
thereafter negotiating a Sales and Purchase Agreement.

Coleman Properties

As previously reported, the Coleman Properties are located in a development comprised
primarily of light industrial buildings. The buildings are designed with office space in the front
and warehouse and shipping space in the rear. As a result of multiple other active businesses
in the area and the resulting higher foot and auto traffic volume, these three buildings are
substantially intact and free from vandalism and theft.

The building at 2865 Coleman Street contains approximately 28,366 square feet of office and
warehouse space on 1.39 acres. This property is vacant and swept clean. The locks have been
changed and the building is secure.

The building at 2875 Coleman Street contains approximately 31,801 square feet of office and
warehouse space on 1.67 acres. This building contains office furniture, computer equipment
and a significant amount of medical supply inventory. This property has a large built-in vault
containing thousands of pills of Class III, IV and V controlled substances.

The building at 2955 Coleman Street contains approximately 68,315 square feet of office
space, drug manufacturing production rooms and warehouse space on 3.55 acres. The tenant
improvements to this building were constructed in such a manor so as to comply with the
technical regulations of the U.S. Food and Drug Administration (“FDA”) for the production,
rebottling and packaging of drug products. The environmental control equipment alone
included in the build-out would have cost hundreds of thousands of dollars. The building has
numerous “clean rooms” designed to meet the high standards required by the FDA. This
building has office furniture, production, bottling and labeling machines and computer
equipment.

The Receiver conducted interviews with a number of local brokers that specialize in light
industrial buildings and selected an agent with CBRE who came highly recommended by
several other brokers. An aggressive marketing campaign of the three Coleman Properties
was undertaken and the Receiver oversaw numerous inspections of the properties by various
buyers. Most buyers were accompanied by contractors, agents and consultants. The Receiver
has negotiated Sale and Purchase Agreements for 2875 and 2865 Coleman with well qualified
buyers. The terms of both Agreements make the pending sales expressly conditional upon
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the Receiver obtaining Court approval. The Receiver has discussed the pending sales with Mr.
Fujinaga and his counsel. Both have expressed agreement to the terms of the sale. The
Receiver’s counsel has drafted stipulations and hopes to get them approved by the Parties so
they can be submitted to the Court. Mr. Fujinaga is cooperating with the Receiver by
approving the pending sales and has indicated that he will sign the stipulations. If the Receiver
is not able to obtain an agreement to the stipulations, the Receiver will file a motion seeking
the Court’s confirmation of the pending sales and an Order authorizing the Receiver to close
the sales. Both sales will be subject to an overbid procedure that the Receiver will recommend
to the Court. The Receiver has contacted Plaintiff’s counsel and counsel for the investors to
confirm their willingness to remove lis pendens filed against the properties subject to the
Receiver obtaining the Court’s approval.

The marketing of 2955 Coleman Road has presented specific challenges to the Receiver and
its broker. The Receiver’s brokers have targeted regulated industries that could benefit from
the special use of the building’s improvements. The Receiver has rejected several offers that
were well below the amount that could be realized in a sale of 2955 Coleman to a special use
company. The only offers to date are from buyers interested in the property as an open
warehouse use and have reflected that value per square foot. The Receiver believes that the
effort to locate a company that could benefit from the specific improvements should continue
for another five or six months before considering lower offers.

In anticipation of the pending sales of two of the Coleman Properties, the Receiver needed to
make arrangements to vacate the premises. In order to accomplish this, the Receiver drafted
two stipulations. The first was an agreement that the Receiver could retain the services of an
auctioneer to conduct an auction and liquidate the office furniture and equipment and the
inventory of medical supplies. The stipulation for the sale of personal property also includes
the office furniture and equipment and construction supplies located in the Durango
Properties. The second stipulation authorizes the receiver to dispose of the drugs stored in a
drug vault in 2875 Coleman by contracting with a vendor approved by the Drug Enforcement
Administration. All of the drug products are now expired and cannot be liquidated. Mr.
Fujinaga agreed to cooperate with the Receiver’s request and signed both stipulations. The
Plaintiff’s counsel advised the Receiver that they did not have any objection to either
stipulation. On October 5, 2015, the Court approved the stipulations and entered an Order
authorizing the Receiver to dispose of the drugs and sell the personal property.

Harmon Property

The building at 150 East Harmon is a two story medical building which contains approximately
25,741 square feet of office space on 1.62 acres. The tenant improvements are designed with
multiple examination rooms, labs, X-ray rooms, executive offices and document storage areas.
The suites are vacant with the exception of a tenant on the second floor in suite 206. The
Receiver has continued to manage the property and address any concerns raised by the tenant.
As previously reported, the Receiver determined that the location of the property attracted
numerous transient visitors that posed a problem for the tenant, the tenant’s staff and the
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tenant’s patients. The Receiver secured the property by contracting with American Fence to
install a fence around the perimeter of the building. The Receiver continues to constantly
monitor the presence of anyone trespassing on the property. The Receiver arranged to extend
the height of a portion of the fence and secured a storage building in order to address two
additional incidents of trespassing. Since the most recent security measures were
implemented, the Receiver has not received any complaints about trespassers from the tenant.
The Receiver continues to make periodic safety inspections of the property to ensure that no
further problems exist.

The Harmon Property is titled to HMC Service Center LLC. During a hearing before the
Court, counsel for Mr. Fujinaga raised an objection to the sale of the Harmon Property based
on his assertion that there were several other independent parties that hold an ownership
interest in HMC Service Center. In response to Mr. Fujinaga’s claim, the Court directed the
Receiver to investigate the ownership of the Harmon Property. Based on a review of tax
returns and other HMC Service Center documents, the Receiver has confirmed that two other
individuals each have a fifteen percent (15%) interest in HMC Service Center. Mr. Fujinaga
effectively owns 70% of the LLC. He holds 65% in his own name and a company owned by
Mr. Fujinaga owns the remaining 5% of the LLC. Mr. Suzuki, a co-defendant in the criminal
action filed by the Department of Justice owns 15% of the LLC. Another individual from
Henderson, Nevada, who has since passed away, holds the other 15% interest. The Receiver
has not been able to confirm whether or not the other two individuals paid consideration for
their interest in HMC Service Center. The Receiver has requested proof of the payment of
consideration by the two partners from Mr. Fujinaga, but has not yet received a response. The
Receiver was able to locate documents at the Durango Property that show each Member of
the LLC paid a token amount for the percentage of interest in the LLC held by each one, but
the Receiver has not been able to determine the source of funds used to purchase the Harmon
Property. As such, the Receiver is not prepared to concede that the two other Members have
a legitimate claim to the property. The Receiver is still reviewing the matter, but the Receiver’s
is investigating the option of preparing a motion for the Court requesting authority to liquidate
the property and hold 30% of the net proceeds of the sale subject to the claims of the other
two Members. The remaining 70% of the net proceeds would be included in the general fund
of the Receivership Estate.

Pending the resolution of the issue of ownership, the Receiver has not taken any steps to list
the property for sale. The Receiver has received a number of inquiries from brokers
representing buyers interested in the property The Receiver will seek further direction from
the Court before proceeding with any efforts to liquidate the Harmon Property.

Other Real Property and Assets

The Receiver has identified properties located in Solvang, California and Honokaa, Hawaii.
The Receiver is in the process of taking control of these properties and securing appraisals for
both.


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Mr. Fujinaga advised the Receiver of funds held in the account of One Stop Pharmacy which
represent the proceeds from the sale of the pharmacy. Mr. Fujinaga has cooperated with the
Receiver in getting the funds transferred to the Receiver by drafting a letter directing the
signatory on the account to transmit the funds to the Receiver.

Inventory of the Documents and Electronic Data

The inventory, preservation and storage of the documents and electronic data present a
monumental task for the Receiver. This is the case, not only because of the voluminous
amount of documents, but also the nature of the documents and the retention requirements
for various types of medical records. As discussed above, the Receiver is aware that counsel
for the Department of Justice and Mr. Fujinaga’s counsel have discussed the collection and
storage of certain documents by the F.B.I. On separate occasions, the Receiver provided
access to counsel from the DOJ and Mr. Fujinaga and his counsel to inspect the documents
stored at all seven commercial buildings. Even if the parties can reach an agreement regarding
the retention of a portion of the documents, the Receiver estimates that this represents
approximately less than 20% of the total volume of documents. The Receiver has no objection
to this process if the Parties reach an agreement because it would reduce the administrative
costs to the estate for collection and storage of the documents in question. In order to
facilitate the sale of the personal property and the pending sale of the properties, the Receiver
has taken steps to box the remaining documents in preparation for removal to a storage facility.
This process has started, but is expected to take several weeks to complete.

The Receiver’s initial report to the Court described a document vault located at 5330 S.
Durango Drive. Mr. Fujinaga has attempted to locate the combination to the vault, but has
been unsuccessful. The Receiver must be prepared to vacate the premises and has decided to
retain the services of a specialized locksmith capable of opening the vault. The cost of opening
the document vault is expected to range from $5,000 to $7,000 depending on whether or not
both dials were used in setting the combination. The Receiver not only needs to identify and
remove the contents of the vault in preparation for the sale of the property, but the Receiver
is hopeful that the vault contains backup tapes of the various companies servers with banking
and financial information needed in the Hoy’s litigation. As previously reported,
approximately 45 servers have been taken or are otherwise missing. The Receiver has been
severely hampered by the lack of banking and financial data and is hopeful that the backup
tapes will contain information useful to the Receiver in tracing other assets and in the litigation
with Hoys Pharmacy and identifying potential third-party claims.

The Receiver is of the opinion that a large number of documents could be identified and
destroyed. Most of the documents contain consumer data and would need to be shredded.
This is probably not a viable alternative given the ongoing criminal action. Additionally,
counsel for the investors has expressed an interest in access to documents. The Receiver
intends to store all documents and electronic data until such time as the Court directs
otherwise.


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Schedule of Receivership Receipts and Disbursements

As set forth in more detail in the Receivership Administration Expenses and Fund Balance
statement attached hereto as Exhibit “1”, during the reporting period from April 1, 2015 to
September 30, 2015, the Receiver has collected a total of $151,800.76. This includes turnover
of funds with Talmer Bank and Wells Fargo Bank of $119,250.97. The Receiver also collected
rent on 150 E. Harmon of $32,424.00.

Real Property expenses for this period totaled $343,113.45 as detailed below:

Fire Alarm & Monitoring           478.00                                                                           478.00
Garbage Service                 1,837.71                                                                         1,837.71
Grafitti Removal                                                     260.00      285.00                            545.00
Hazard & Liability Insurance      529.83                                                                           529.83
Landscaping Maintenance         4,125.00                                          255.00     255.00              4,635.00
Locksmith Services                620.33     296.33      296.33      479.34       685.73     277.75              2,655.81
Marketing Expense                                                               3,785.25                         3,785.25
Property Insurance              2,153.02    8,282.01    8,808.28   16,675.57   13,148.34   18,615.86            67,683.08
Property Taxes & Liens         14,496.57    3,559.44    4,051.15    8,165.50   17,258.81   18,213.33   50.00    65,794.80
Repairs & Maintenance           4,299.43                2,663.94                2,673.48      550.00            10,186.85
Security & Patrol Services                                                     15,034.65                        15,034.65
Telephone & Internet           13,191.23                                                                        13,191.23
Water & Sewer                  11,949.90    7,935.56    9,325.07   12,587.57   10,093.74   18,931.17            70,823.01
Other                                                                  28.88                                        28.88
Total                          76,592.13   31,850.26   61,281.78   46,901.93   66,407.12   60,030.23   50.00   343,113.45


Respectfully Submitted,

        /s/ Brick Kane

Robb Evans & Associates LLC
Receiver




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                      Exhibit 1




                      Exhibit 1
                                                                    ROBB EVANS ASSOCIATES LLC
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                                                          Receiver of MRI International, Inc.
                                                 Receivership Administrative Expenses and Fund Balance
                                                            From Inception(February 23, 2015) to September 30, 2015

                                             Previously
                                            Reported and                                                                                            4/1/15-
                                             Approved            Apr 15         May 15          Jun 15         Jul 15        Aug 15      Sep 15     9/30/15      TOTAL

  Corporate Funds in Custody
    Talmer Bank
       Talmer Bank XX0767                            0.00             0.00           0.00            0.00        164.74          0.00        0.00       164.74        164.74
       Talmer Bank-Harmon Primary Care               0.00             0.00           0.00            0.00          7.25          0.00        0.00         7.25          7.25
       Talmer Bank 0770                              0.00             0.00           0.00            0.00      5,507.14          0.00        0.00     5,507.14      5,507.14
       Talmer Bank - CSA                             0.00             0.00           0.00            0.00     49,999.99          0.00        0.00    49,999.99     49,999.99
    Total Talmer Bank                                0.00             0.00           0.00            0.00     55,679.12          0.00        0.00    55,679.12     55,679.12

     Wells Fargo Bank
       WFB Acct #91968013                            0.00             0.00      63,571.85            0.00             0.00       0.00        0.00    63,571.85     63,571.85
     Total Wells Fargo Bank                          0.00             0.00      63,571.85            0.00             0.00       0.00        0.00    63,571.85     63,571.85

  Total Corporate Funds in Custody                   0.00             0.00      63,571.85            0.00     55,679.12          0.00        0.00   119,250.97    119,250.97

  US District Court Funds                    1,110,984.94             0.00           0.00            0.00          0.00           0.00       0.00         0.00   1,110,984.94
  Rent Receipts - 150 E. Harmon                  5,400.00             0.00      10,824.00        5,400.00      5,400.00       5,400.00   5,400.00    32,424.00      37,824.00
  Miscellaneous Income                               0.00            22.33           0.00           65.20          0.00           0.00       0.00        87.53          87.53
  Interest Income                                    0.00            24.47           3.22            2.97          2.86           3.18       1.56        38.26          38.26
Total Funds Collected                        1,116,384.94            46.80      74,399.07        5,468.17     61,081.98       5,403.18   5,401.56   151,800.76   1,268,185.70

Expenses
  Business Entity Expenses
     Fees & Penalties                               0.00            250.00           0.00            0.00          0.00          0.00        0.00       250.00        250.00
     Records Storage                                0.00              0.00           0.00            0.00        232.01        232.01    2,049.57     2,513.59      2,513.59
     UCC Search Costs                             122.50              0.00           0.00            0.00        139.00          0.00        0.00       139.00        261.50
  Total Business Entity Expenses                  122.50            250.00           0.00            0.00        371.01        232.01    2,049.57     2,902.59      3,025.09

  Real Property Expenses
    150 E. Harmon Ave.
        Alarm Monitoring & Response                281.50           898.88           0.00            0.00          0.00           0.00       0.00       898.88      1,180.38
        Appraisal Fees                           1,875.00         5,375.00           0.00            0.00          0.00           0.00       0.00     5,375.00      7,250.00
        Common Area Cleaning                         0.00             0.00           0.00            0.00        812.50           0.00       0.00       812.50        812.50
        Electricity                              3,694.31             0.00       3,791.60        2,265.25      2,512.14       2,910.40   2,593.90    14,073.29     17,767.60
        Fence Rental Fees                            0.00             0.00       1,116.89            0.00        324.30           0.00     310.25     1,751.44      1,751.44
        Fire Alarm & Monitoring                    316.50            90.50          65.50           65.50         65.50          65.50     125.50       478.00        794.50
        Garbage Service                         10,124.28             0.00           0.00            0.00      1,837.71           0.00       0.00     1,837.71     11,961.99
        Hazard & Liability Insurance                 0.00             0.00           0.00            0.00        529.83           0.00       0.00       529.83        529.83
        Landscaping Maintenance                      0.00             0.00           0.00        4,125.00          0.00           0.00       0.00     4,125.00      4,125.00
        Locksmith Services                       1,527.87             0.00         620.33            0.00          0.00           0.00       0.00       620.33      2,148.20



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                                                    Receiver of MRI International, Inc.
                                           Receivership Administrative Expenses and Fund Balance
                                                      From Inception(February 23, 2015) to September 30, 2015

                                       Previously
                                      Reported and                                                                                         4/1/15-
                                       Approved            Apr 15         May 15          Jun 15         Jul 15     Aug 15      Sep 15     9/30/15      TOTAL
  Property Insurance                       4,173.70        (1,023.66)      1,604.19           0.00           0.00        0.00   1,572.49     2,153.02     6,326.72
  Property Taxes & Liens                 182,144.54             0.00           0.00           0.00           0.00   14,496.57       0.00    14,496.57   196,641.11
  Repairs & Maintenance                      466.72         1,101.74       1,524.85         362.53           0.00    1,160.31     150.00     4,299.43     4,766.15
  Sewer                                    3,494.17         1,164.72           0.00           0.00       1,164.88        0.00       0.00     2,329.60     5,823.77
  Telephone & Internet                     6,627.57             0.00       4,416.55       2,218.94       2,227.16    2,156.01   2,172.57    13,191.23    19,818.80
  Water                                        3.35         3,940.25           0.00       3,548.52         706.03      755.80     669.70     9,620.30     9,623.65
Total 150 E. Harmon Ave.                 214,729.51        11,547.43      13,139.91      12,585.74      10,180.05   21,544.59   7,594.41    76,592.13   291,321.64

2865 Coleman St.
   Appraisal Fees                          4,625.00         1,875.00           0.00            0.00          0.00        0.00       0.00     1,875.00     6,500.00
   C.A.M. Fees                            13,387.48             0.00         538.09          538.09        538.09      538.09     538.09     2,690.45    16,077.93
   Clean up Services                           0.00             0.00           0.00            0.00      1,327.50        0.00       0.00     1,327.50     1,327.50
   Electricity                                39.20            60.38          28.88           29.33      3,792.87    1,027.37     945.14     5,883.97     5,923.17
   Locksmith Services                        307.69             0.00           0.00            0.00        296.33        0.00       0.00       296.33       604.02
   Property Insurance                      1,447.71         3,225.16       1,011.37        1,011.37      1,011.37    1,011.37   1,011.37     8,282.01     9,729.72
   Property Taxes & Liens                 31,991.57             0.00           0.00            0.00          0.00    3,559.44       0.00     3,559.44    35,551.01
   Water & Sewer                               0.00         6,790.76           0.00            0.00          0.00      466.76     678.04     7,935.56     7,935.56
Total 2865 Coleman St.                    51,798.65        11,951.30       1,578.34        1,578.79      6,966.16    6,603.03   3,172.64    31,850.26    83,648.91

2875 Coleman St.
   Alarm Monitoring & Response                 0.00           499.06           0.00            0.00        591.00        0.00     591.00     1,681.06     1,681.06
   Appraisal Fees                          4,625.00         1,875.00           0.00            0.00          0.00        0.00       0.00     1,875.00     6,500.00
   C.A.M. Fees                            12,055.29             0.00         602.93          602.93        602.93      602.93     602.93     3,014.65    15,069.94
   Clean Up Services                           0.00             0.00           0.00            0.00      2,100.50        0.00       0.00     2,100.50     2,100.50
   Electricity                                 0.00         3,279.86       8,932.11        3,521.34      4,348.67    3,762.84   3,620.98    27,465.80    27,465.80
   Fees & Permits                              0.00             0.00           0.00            0.00          0.00        0.00       0.00         0.00         0.00
   Locksmith Services                        402.68             0.00           0.00            0.00        296.33        0.00       0.00       296.33       699.01
   Property Insurance                      1,613.02         3,305.20       1,011.37        1,011.37      1,011.37    1,011.37   1,457.60     8,808.28    10,421.30
   Property Taxes & Liens                 36,410.59             0.00           0.00            0.00          0.00    4,051.15       0.00     4,051.15    40,461.74
   Repairs & Maintenance                       0.00             0.00         180.00            0.00      1,313.74      670.00     500.20     2,663.94     2,663.94
   Water & Sewer                               0.00         9,081.23           0.00            0.00          0.00       95.57     148.27     9,325.07     9,325.07
Total 2875 Coleman St.                    55,106.58        18,040.35      10,726.41        5,135.64     10,264.54   10,193.86   6,920.98    61,281.78   116,388.36

2955 Coleman St.
   Appraisal Fees                          4,625.00         1,875.00           0.00            0.00          0.00        0.00       0.00     1,875.00     6,500.00
   C.A.M. Fees                            28,584.69             0.00       1,297.44        1,297.44      1,297.44    1,297.44   1,297.44     6,487.20    35,071.89
   Electricity                                 0.00            83.48          57.76           29.33         85.66       28.88      57.76       342.87       342.87
   Grafitti Removal                            0.00             0.00           0.00            0.00        260.00        0.00       0.00       260.00       260.00
   Locksmith Services                        606.08             0.00           0.00            0.00        296.34        0.00     183.00       479.34     1,085.42
   Property Insurance                      3,324.86         6,476.85       1,950.50        1,950.50      1,950.50    1,950.50   2,396.72    16,675.57    20,000.43
   Property Taxes & Liens                 74,251.27             0.00           0.00            0.00          0.00    8,165.50       0.00     8,165.50    82,416.77


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                                                                  ROBB EVANS ASSOCIATES LLC
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                                                        Receiver of MRI International, Inc.
                                               Receivership Administrative Expenses and Fund Balance
                                                          From Inception(February 23, 2015) to September 30, 2015

                                           Previously
                                          Reported and                                                                                             4/1/15-
                                           Approved            Apr 15         May 15          Jun 15         Jul 15        Aug 15      Sep 15      9/30/15      TOTAL
     Water & Sewer                                 0.00        11,702.66           0.00            0.00          0.00         363.98      520.93    12,587.57     12,587.57
     2955 Coleman St. - Other                      0.00             0.00           0.00            0.00          0.00          28.88        0.00        28.88         28.88
   Total 2955 Coleman St.                    111,391.90        20,137.99       3,305.70        3,277.27      3,889.94      11,835.18    4,455.85    46,901.93    158,293.83

   5330 & 5370 S. Durango Dr.
      Appraisal Fees                           4,875.00         1,875.00           0.00            0.00          0.00           0.00        0.00     1,875.00      6,750.00
      Fence Rental Fees                            0.00         1,312.12           0.00            0.00          0.00           0.00        0.00     1,312.12      1,312.12
      Grafitti Removal                             0.00             0.00           0.00            0.00        285.00           0.00        0.00       285.00        285.00
      Landscape Maintenance                        0.00             0.00           0.00            0.00          0.00           0.00      255.00       255.00        255.00
      Locksmith Services                       1,053.50             0.00         685.73            0.00          0.00           0.00        0.00       685.73      1,739.23
      Marketing Expenses                           0.00             0.00           0.00            0.00          0.00           0.00    3,785.25     3,785.25      3,785.25
      Property Insurance                       7,034.49         6,643.44       1,300.34        1,300.34      1,301.94       1,301.14    1,301.14    13,148.34     20,182.83
      Property Taxes & Liens                 157,586.72             0.00           0.00            0.00          0.00      17,258.81        0.00    17,258.81    174,845.53
      Repairs & Maintenance                    5,616.10             0.00       1,573.48            0.00        450.00         375.00      275.00     2,673.48      8,289.58
      Security & Patrol Services              11,390.40        15,034.65           0.00            0.00          0.00           0.00        0.00    15,034.65     26,425.05
      Sewer                                        0.00             0.00           0.00            0.00        974.16           0.00        0.00       974.16        974.16
      Water                                        0.00         5,880.10           0.00            0.00          0.00       1,360.43    1,879.05     9,119.58      9,119.58
   Total 5330 & 5370 S. Durango Dr.          187,556.21        30,745.31       3,559.55        1,300.34      3,011.10      20,295.38    7,495.44    66,407.12    253,963.33

   5420 S. Durango Dr.
      Locksmith Services                           0.00             0.00           0.00            0.00          0.00           0.00      277.75       277.75        277.75
      Appraisal Fees                           4,875.00         1,875.00           0.00            0.00          0.00           0.00        0.00     1,875.00      6,750.00
      Fence Rental Fees                            0.00         1,312.12           0.00            0.00          0.00           0.00        0.00     1,312.12      1,312.12
      Landscape Maintenance                        0.00             0.00           0.00            0.00          0.00           0.00      255.00       255.00        255.00
      Property Insurance                       8,270.93         8,863.36       1,950.50        1,950.50      1,950.50       1,950.50    1,950.50    18,615.86     26,886.79
      Property Taxes & Liens                 207,463.91             0.00           0.00            0.00          0.00      18,213.33        0.00    18,213.33    225,677.24
      Repairs & Maintenance                    2,273.33           275.00           0.00            0.00          0.00           0.00      275.00       550.00      2,823.33
      Water                                        0.00        15,272.89           0.00            0.00          0.00       1,490.53    2,167.75    18,931.17     18,931.17
   Total 5420 S. Durango Dr.                 222,883.17        27,598.37       1,950.50        1,950.50      1,950.50      21,654.36    4,926.00    60,030.23    282,913.40

   Hawaii Land
     Property Taxes                                0.00             0.00           0.00            0.00             0.00      50.00         0.00       50.00          50.00
   Total Hawaii Land                               0.00             0.00           0.00            0.00             0.00      50.00         0.00       50.00          50.00

Total Real Property Expenses                 843,466.02       120,020.75      34,260.41      25,828.28      36,262.29      92,176.40   34,565.32   343,113.45   1,186,579.47

Receiver Fees & Expenses
  Receiver Fees
      B. Kane                                  8,411.85         3,226.05         723.60         211.05         512.55        271.35      452.25      5,396.85     13,808.70
      K. Johnson                                 120.60             0.00         542.70           0.00           0.00          0.00        0.00        542.70        663.30



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                                                                   ROBB EVANS ASSOCIATES LLC
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                                                         Receiver of MRI International, Inc.
                                                Receivership Administrative Expenses and Fund Balance
                                                           From Inception(February 23, 2015) to September 30, 2015

                                            Previously
                                           Reported and                                                                                              4/1/15-
                                            Approved            Apr 15         May 15          Jun 15         Jul 15        Aug 15       Sep 15      9/30/15      TOTAL
       V. Miller                               42,149.70         9,497.25      12,361.50      13,085.10      17,245.80       13,235.85   30,481.65    95,907.15    138,056.85
       A. Jen                                     482.40           934.65          30.15         150.75         934.65          814.05      452.25     3,316.50      3,798.90
       M. Lin                                       0.00             0.00           0.00           0.00           0.00            0.00      934.65       934.65        934.65
       L. Lee                                       0.00            60.30         723.60           0.00           0.00            0.00        0.00       783.90        783.90
       F. Jen                                       0.00             0.00           0.00          90.45          60.30           90.45      150.75       391.95        391.95
       C. Callahan                              1,755.00         1,665.00         697.50       1,215.00         270.00            0.00       67.50     3,915.00      5,670.00
       E. Roop                                  8,748.00             0.00           0.00           0.00           0.00            0.00    4,414.50     4,414.50     13,162.50
       C. DeCius                                2,466.00         5,319.00       1,593.00       1,179.00       1,134.00        1,233.00    1,395.00    11,853.00     14,319.00
       N. Wolf                                  7,698.00         2,418.00       1,560.00         954.00       2,112.00        1,974.00    3,282.00    12,300.00     19,998.00
       W. Wolf                                      0.00             0.00           0.00           0.00           0.00          323.00        0.00       323.00        323.00
     Total Receiver Fees                       71,831.55        23,120.25      18,232.05      16,885.35      22,269.30       17,941.70   41,630.55   140,079.20    211,910.75
     Receiver Expenses
       Meetings & Meals                            17.05             0.00           0.00           0.00           0.00           0.00        0.00          0.00         17.05
       Office Telephone & Supplies                  0.00           609.53           0.00           3.76           0.00           0.00        0.00        613.29        613.29
       Postage & Delivery                         119.40           309.52         629.26          18.59         380.13         126.58       20.17      1,484.25      1,603.65
       Receiver Report Notification                 0.00             0.00         598.71           0.00           0.00           0.00        0.00        598.71        598.71
       Travel Expenses                          1,153.66             0.00           0.00           0.00           0.00           0.00        0.00          0.00      1,153.66
       Website Support                            199.62            84.28          70.98           0.00           0.00          26.62        0.00        181.88        381.50
     Total Receiver Expenses                    1,489.73         1,003.33       1,298.95          22.35         380.13         153.20       20.17      2,878.13      4,367.86

     Legal Fees & Costs
       Kolesar & Leatham
           Legal Fees                               0.00             0.00          37.50            0.00             0.00         0.00        0.00       37.50          37.50
       Total Kolesar & Leatham                      0.00             0.00          37.50            0.00             0.00         0.00        0.00       37.50          37.50

        Lynch Law Practice PLLC
          Legal Fees                                0.00             0.00           0.00            0.00      3,229.15        7,172.55   12,420.05    22,821.75     22,821.75
          Legal Costs                               0.00             0.00           0.00            0.00        510.00            8.00       62.00       580.00        580.00
        Total Lynch Law Practice PLLC               0.00             0.00           0.00            0.00      3,739.15        7,180.55   12,482.05    23,401.75     23,401.75

        Dentons
          Legal Fees                                0.00        16,278.75       4,192.65         229.95           0.00           0.00         0.00    20,701.35     20,701.35
          Legal Costs                               0.00           232.06         169.54          85.10         304.40         129.40         0.00       920.50        920.50
        Total Dentons                               0.00        16,510.81       4,362.19         315.05         304.40         129.40         0.00    21,621.85     21,621.85

     Total Legal Fees & Costs                       0.00        16,510.81       4,399.69         315.05       4,043.55        7,309.95   12,482.05    45,061.10     45,061.10

  Total Receiver Fees & Expenses               73,321.28        40,634.39      23,930.69      17,222.75      26,692.98       25,404.85   54,132.77   188,018.43    261,339.71

Total Expenses                                916,909.80       160,905.14      58,191.10      43,051.03      63,326.28      117,813.26   90,747.66   534,034.47   1,450,944.27

Fund Balance                                  199,475.14                                                                                                          (182,758.57)


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